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                           EXHIBIT A
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                                                                   EXHIBIT A

                                                           U.S. Patent No. 7,230,931
Claim Terms, Clauses,          Plaintiff’s Proposed Constructions and Support                Defendants’ Proposed Construction and
or Phrases                                                                                   Support
“For use in a wireless         Plain and ordinary meaning. Not a proper term for             Limiting.
access network                 construction, as it includes multiple terms.
comprising a plurality of                                                                    Intrinsic Evidence
base stations, each of         To the extent that any portion of the preamble is             931 Patent, Claims 1, 28, Abstract, 4:19–21,
said plurality of base         limiting, the phrase “a transceiver” is not limiting.         5:22–28, 9:1–12, 9:16–34, 11:55–65, 14:26–28,
stations capable of                                                                          22:52–57.
bidirectional time             To the extent that the Court determines that “a
division duplex (TDD)          transceiver” is limiting, it means “one or more               Extrinsic Evidence
communication with             transceivers.”                                                Claim Construction Order, General Access
wireless access devices                                                                      Solutions, Ltd. v. Sprint Spectrum L.P., 2:20- cv-7-
disposed at a plurality of     Intrinsic Evidence                                            RWS, Dkt. 105 (E.D. Tex. Sept. 29, 2020)
subscriber premises in an      ’931 Patent: Figures 1, 2, 11; 12:5-45; 13:8-23; 27:7-27.
associated cell site of said
wireless access network,       U.S. Patent No. 6,470,177: Figs. 1, 2, 4, 4:19-20; 4:25-26;
a transceiver associated       4:42-60.
with a first of said
plurality of base stations     Sprint IPR Final Written Decision at 17 (March 7, 2019).
comprising”

(Preamble – claims 1, 28)

For use in a wireless          Plain and ordinary meaning. Not a proper term for             Limiting.
access network                 construction, as it includes multiple terms.
comprising a plurality of                                                                    Intrinsic Evidence
base stations, each of                                                                       931 Patent, Claims 19, 29, Abstract, 4:19–21,
said plurality of base                                                                       5:22–28, 9:1–12, 9:16–34, 11:55–65, 14:26–28,
stations capable of                                                                          22:52–57.
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bidirectional time
division duplex (TDD)                                                                             Extrinsic Evidence
communication with                                                                                Claim Construction Order, General Access
wireless access devices                                                                           Solutions, Ltd. v. Sprint Spectrum L.P., 2:20- cv-7-
disposed at a plurality of                                                                        RWS, Dkt. 105 (E.D. Tex. Sept. 29, 2020)
subscriber premises in an
associated cell site of said
wireless access network,
a method of
communicating with a
first of said plurality of
base stations comprising
the steps of

(Preamble – claims 19,
29)
wireless access devices        Plain and ordinary meaning.                                        “wireless access devices disposed at a plurality of
disposed at a plurality of                                                                        subscriber buildings or places in a building”
subscriber premises            “The ‘wireless access devices’ of the ’931 patent are not
                               necessarily ‘fixed at a subscriber premises . . . In other         Intrinsic Evidence
(all claims)                   words, the claims do not preclude base stations that can           931 Patent, Abstract, Fig. 1, 4:19-21, 5:18-31,
                               or do communicate with wireless devices that are not               7:10-20, 9:1-4, 9:16-23, 9:31-33, 9:38-39, 9:56-58,
                               disposed at a subscriber’s premises. They simply require           9:61-63, 9:66-67, 10:4-5, 11:51-12:4, 12:13-20,
                               base stations capable of communicating with wireless               13:17-18;
                               devices that are disposed at a subscriber’s premises.”
                               General Access Solutions, Ltd., v. Sprint Spectrum L.P., et al.,   931 Patent File History, June 7, 2006 Office
                               Civ. No. 2:20-cv-00007-RWS (Sept. 29, 2020), Dkt. No.              Action at 2–3.
                               105 (hereinafter, “Sprint Claim Construction Order”), at
                               18.                                                                Extrinsic Evidence
                                                                                                  Claim Construction Order, General Access
                               Intrinsic Evidence                                                 Solutions, Ltd. v. Sprint Spectrum L.P., 2:20- cv-7-
                               ’931 Patent: 4:30-45; 5:22-25; 11:51-54.                           RWS, Dkt. 105 (E.D. Tex. Sept. 29, 2020);

                               ’931 Patent File History: Jan. 10, 2006 Non-Final                  American Heritage College Dictionary (2000)

                                                                            7
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                          Rejection; May 18, 2006 Amendment and Response to            defines “premise” as “a building or part of a
                          Office Action; June 7, 2006 Final Rejection; Oct. 13,        building,” “land the buildings on it.”
                          2006 Pre-Appeal Brief Request for Review; January 22,        VZNGASCC_000001 at 003.
                          2007 Notice of Allowance.
                                                                                       Merriam Webster’s College Dictionary (10th ed.
                          Sprint IPR Petition at 20-21 (July 28, 2017).                1993) defines “premises” as “a building or part of
                                                                                       a building usually with its appurtenances (as
                          Sprint IPR Ex. 1003 ¶¶ 108, 115-17.                          grounds),” “a tract of land with the buildings
                                                                                       thereon.” VZNGASCC_000006, at 008.
                          Theodore Rappaport “Wireless Communications,
                          Principles and Practice,” 1996 at 10, 398, 439, 441, 445-    Newton’s Telecom Dictionary (16.5th ed. 2000)
                          49.                                                          defines “premises” as “the space occupied by a
                                                                                       customer or authorized or joint user in a building
                          U.S. Patent No. 7,366,133 at 4:31-40, 16:41-47.              or buildings on continuous or contiguous
                                                                                       property (except railroad rights of way, etc.) not
                          Benjamin-Seeyar, Anader, et al, “Draft Document for          separated by a public road or highway.”
                          SC-FDE Phy Layer System for Sub 11 GHz BWA,”                 VZNGASCC_000009 at 011.
                          IEEE 802.16.3c01-58r2 (May 17 2001) at 47.
                                                                                       Telephony’s Dictionary (2d ed. 1986) defines
                          U.S. Patent No., 6,094,421 at 1:15-30, 2:19-20, 44:50-53.    “premises” as “in telecommunications usage the
                                                                                       buildings or offices of the user, not divided or
                          WO 96/37970 at Abstract, 1:4-11.                             separated by a public thoroughfare.”
                                                                                       VZNGASCC_000012 at 014.
                          Extrinsic Evidence
                          Webster’s New International Dictionary                       Webster’s New World Dictionary (1994) defines
                                                                                       “premise” as “a piece of real estate; house or
                          Webster’s NewWorld Dictionary                                building and its land.” VZNGASCC_000015 at
                                                                                       017.
wireless access devices   Plain and ordinary meaning.                                  “fixed, externally-mounted devices”

(all claims)              “The ‘wireless access devices’ of the ’931 patent are not    Intrinsic Evidence
                          necessarily ‘fixed at a subscriber premises . . . In other   931 Patent, Abstract, Fig. 1, Fig. 6, 5:25-31, 9:16-
                          words, the claims do not preclude base stations that can     39, 11:55-12:4, 14:26-28, 15:27-29, 22:52-57,
                          or do communicate with wireless devices that are not         29:66-30:2.

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       disposed at a subscriber’s premises. They simply require
       base stations capable of communicating with wireless
       devices that are disposed at a subscriber’s premises.”
       Sprint Claim Construction Order at 18.

       Intrinsic Evidence
       ’931 Patent at 4:30-45, 5:22-25, 11:51-54.

       ’931 Patent File History: Jan. 10, 2006 Non-Final
       Rejection; May 18, 2006 Amendment and Response to
       Office Action; June 7, 2006 Final Rejection; Oct. 13,
       2006 Pre-Appeal Brief Request for Review; January 22,
       2007 Notice of Allowance.

       Sprint IPR Petition at 20-21 (July 28, 2017).

       Sprint IPR Ex. 1003 ¶¶ 108, 115-17.

       Theodore Rappaport “Wireless Communications,
       Principles and Practice,” 1996 at 10, 398, 439, 441, 445-
       49.

       U.S. Patent No. 7,366,133 at 4:31-40, 16:41-47.

       Benyamin-Seeyar, Anader, et al, “Draft Document for
       SC-FDE Phy Layer System for Sub 11 GHz BWA,”
       IEEE 802.16.3c01-58r2 (May 17, 2001) at p. 47.

       U.S. Patent No. 6,094,421 at 1:15-30, 2:19-20, 44:50-53.

       WO 96/37970 at Abstract. 1:4-24.

       Extrinsic Evidence
       Webster’s New International Dictionary

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                          Webster’s NewWorld Dictionary

                          U.S. Govt. Accountability Off., GAO-01-93, General
                          Accounting Office: Technological and Regulatory
                          Factors Affecting Consumer Choice of Internet
                          Providers (2000)

                          Int’l Telecomm. Union [ITU], Vocabulary of Terms for
                          Wireless Access, ITU-R.F. 1399 (1999)

                          Loutfi Nuaymi, WiMax: Technology for Broadband
                          Wireless Access 8-10 (John Wiley & Sons, Ltd. 2007)
wireless access network   No construction necessary.                                   “fixed wireless access network”

(all claims)              Intrinsic Evidence                                           Intrinsic Evidence
                          ’931 Patent: 4:30 – 5:25; 11:51-54.                          931 Patent, Abstract, Fig. 1, Fig. 2, Fig. 6, Fig. 7,
                                                                                       Fig. 8, 3:28-31, 9:1-12, 9:16-23, 10:51-53, 10:54-
                          ’931 Patent File History: Jan. 10, 2006 Non-Final            57, 11:7-10, 11:11-16, 11:17-21, 11:55-56, 13:8-
                          Rejection; May 18, 2006 Amendment and Response to            11, 21:12-14, 21:35-37, 21:58-59, 22:38-41, 22:49-
                          Office Action; June 7, 2006 Final Rejection; Oct. 13,        57, 23:37-42, 24:50-54, 25:29-37, 27:61-67, 28:24-
                          2006 Pre-Appeal Brief Request for Review; January 22,        31.
                          2007 Notice of Allowance.

                          Theodore Rappaport “Wireless Communications,
                          Principles and Practice,” 1996 at 10, 398-99, 423-25, 432-
                          33, 439-41, 445-49.

                          U.S. Patent No. 7,366,133 at 16:41-47.

                          U.S. Patent No. 6,094,421 at 1:15-30, 2:19-23, 44:50-53.

                          WO 96/37970 at Abstract. 1:4-24.


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                      U.S. Patent No. 6,470,057 at 1:6-10.

                      U.S. Patent No. 6,052,408 at 1:19-35.

Sector/s              Plain and ordinary meaning, which is “a geographic          “predefined arcs around the cell site, each of
                      portion of a cell site.”                                    which is served by an individual RF modem and
(all claims)                                                                      antenna,” wherein a sector cannot be “the area
                      Intrinsic Evidence                                          covered by any one directed scanning beam”
                      ’931 Patent at Fig. 2; Fig. 12A; Fig. 12B; Fig. 13A; Fig.
                      13B; 8:13-16; 12:24-27; 13:18-23; 28:7-12; 28:34-43.        Intrinsic Evidence
                                                                                  931 Patent, Abstract, Fig. 6, 4:60-65, 8:12-16,
                      WO 96/37970 at 4:19-6:8.                                    8:28-31, 8:57-59, 9:5-8, 9:23-29, 12:24-45, 13:18-
                                                                                  23, 14:53-55, 16:4-15, 16:20-23, 21:56-57, 22:52-
                      Benyamin-Seeyar, Anader, et al, “Draft Document for         57, 22:62-65, 24:16-19, 24:33-35, 26:59-63, 27:61-
                      SC-FDE Phy Layer System for Sub 11 GHz BWA,”                67, 28:5-7, 28:10-12, 28:17-22, 28:26-31, 28:34-
                      IEEE 802.16.3c01-58r2 (May 17, 2001) at p. 5-6, 31, 50,     36, 28:39-43, 29:51-55, 29:59-61.
                      52.
                                                                                  931 Patent File History, February 6, 2003,
                      Theodore Rappaport “Wireless Communications,                Foreign Reference.
                      Principles and Practice,” 1996 at 55, 58-61, 110, 428, 433.
                                                                                  931 Patent File History, May 15, 2006, Response
                      Sprint IPR Ex. 1012 at 49:15-21, 54:7-14.                   to Non-Final Office Action at 12-13.

                      Sprint IPR Ex. 1011 at 8:9-13, 18:20-22.                    931 Patent File History, October 10, 2006, Pre-
                                                                                  Appeal Brief Request for Review at 2.
                      Extrinsic Evidence
                      EP 3,266,238                                                Extrinsic Evidence
                                                                                  Dewan, Rajesh K. (2016). Saraswati
                      Webster’s Third New International Dictionary (2002)         Mathematics. New Delhi: New Saraswati House
                                                                                  India Pvt Ltd. p. 234. ISBN 978- 8173358371 –
                      Shorter Oxford English Dictionary (5th Ed., 2002)           The area of a sector is defined by the specific
                                                                                  angle of the arc.
                      ETSI TR 121.905 (1999)                                      VZNGASCC_000018 at 021.


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                           Yingzhe Li, Jeffrey Andrews, Francois Baccelli, Thomas             Order on Motion for Summary Judgment and
                           D. Novlan and Charlie Jiangzhong Zhang, Design and                 Motion to Strike, General Access Solutions, Ltd. v.
                           Analysis of Initial Access in Millimeter Wave Cellular Networks,   Sprint Spectrum L.P., 2:20-cv-7-RWS, Dkt. 350
                           IEEE Transactions on Wireless Communications, Vol.                 (E.D. Tex. July 21, 2021).
                           16, No. 10, October 2017
                                                                                              Patent Owner’s Response, Sprint Spectrum
                           Ahmed Alkhateeb, Young-Han Nam, Md Saifur                          L.P. v. General Access Solutions, Ltd., IPR2017-
                           Rahman, Jianzhong (Charlie) Zhang, and Robert W.                   001189, Paper 25 (PTAB Aug. 3,
                           Heath Jr., Initial Beam Association in Millimeter Wave Cellular    2018).
                           Systems: Analysis and Design Insights
                                                                                              Ulrich Vornefeld et al., “SDMA Techniques for
                           IMT-2020 (5G) Promotion Group – 5G Wireless                        Wireless ATM,” IEEE Communications
                           Technology Architecture White Paper 2015-05                        Magazine (November 1999), VZNGAS0002232-
                           https://www.mathworks.com/help/phased/ug/massive-                  37.
                           mimo-hybrid-beamforming.html#d124e29846

                           Gábor Fodor, Nandana Rajatheva, Wolfgang Zirwas,
                           Lars Thiele, Martin Kurras, Kaifeng Guo, Antti Tölli,
                           Jesper H. Sørensen, Elisabeth de Carvalho, An Overview of
                           Massive MIMO Technology Components in METIS
                           Ahmed et al., “A Survey on Hybrid Beamforming
                           Techniques in 5G: Architecture and System Model
                           Perspectives,” in IEEE Communications Surveys & Tutorials,
                           vol. 20, no. 4, pp. 3060- 3097, Fourth Quarter 2018
in said downlink portion   No construction necessary.                                 “in the same downlink portion of the same TDD
of said TDD frame                                                                     frame”

(all claims)                                                                                  Intrinsic Evidence
                                                                                              931 Patent, Claims 1, 19, 28, 29, Fig. 3, Fig. 5A,
                                                                                              Fig. 5B, Fig. 5C, Fig. 6, Fig. 14, 7:43-8:11, 10:59-
                                                                                              61, 10:65-11:10, 11:39-41, 14:29-15:20, 19:19-35,
                                                                                              22:49-23:36, 29:7-14, 29:51-61.



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                                                                           Extrinsic Evidence
                                                                           Claim Construction Order, General Access
                                                                           Solutions, Ltd. v. Sprint Spectrum L.P., 2:20- cv-7-
                                                                           RWS, Dkt. 105 (E.D. Tex. Sept. 29, 2020);

                                                                           Plaintiff’s Opening Claim Construction Brief,
                                                                           General Access Solutions, Ltd. v. Sprint Spectrum L.P.,
                                                                           2:20-cv-7-RWS, Dkt. 84 (E.D. Tex. July 29,
                                                                           2020);

                                                                           Plaintiff’s Reply Claim Construction Brief,
                                                                           General Access Solutions, Ltd. v. Sprint Spectrum L.P.,
                                                                           2:20-cv-7-RWS, Dkt. 92 (E.D.
                                                                           Tex. August 19, 2020);

                                                                           Patent Owner’s Response, Sprint Spectrum
                                                                           L.P. v. General Access Solutions, Ltd., IPR2017-
                                                                           001189, Paper 25 (PTAB Aug. 3, 2018);

                                                                           Final Written Decision, Sprint Spectrum L.P.
                                                                           v. General Access Solutions, Ltd., IPR2017- 001189,
                                                                           Paper 43 (PTAB Mar. 7, 2019);

                                                                           Ulrich Vornefeld et al., “SDMA Techniques for
                                                                           Wireless ATM,” IEEE Communications
                                                                           Magazine (November 1999), VZNGAS0002232-
                                                                           37;

                                                                           Response Brief of Appellee General Access
                                                                           Solutions, Ltd., Sprint Spectrum v. General Access
                                                                           Solutions, Ltd., Appeal No. 19-1855 (Fed. Cir.
                                                                           Oct. 7, 2019).
start of frame field      No construction necessary.                       “The field entitled Start-of-Frame (SOF) Field
                                                                           that is used to indicate the start of a frame”

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(all claims)                 Intrinsic Evidence
                             ’931 Patent at 9:29-34; 14:50-53; 19:62-64; 28:44-50; 29:7- Intrinsic Evidence
                             10; 29:21-33; 29:47-50.                                     931 Patent, Abstract, 9:29-34, 14:50-53, 19:62-
                                                                                         64, 19:65-67, 20:5-8, 21:6-8, 28:44-51, 29:7-10,
                                                                                         29:22-25, 29:26-33, 29:47-50, 30:13-17.

                                                                                           931 Patent File History, October 10, 2006, Pre-
                                                                                           Appeal Brief Request for Review at 1-2.
                                                          U.S. Patent No. 9,426,794
Claim Terms, Clauses,        Plaintiff’s Proposed Constructions and Support                Defendants’ Proposed Construction and
or Phrases                                                                                 Support
wireless communication       No construction necessary.                                    “wireless device[s] in a fixed wireless access
device[s]                                                                                  communication system”
                             Intrinsic Evidence
(all claims)                 ’794 Patent at 4:16-26; 4:36-42; 4:46-49; 4:60-63; 5:2-11;    Intrinsic Evidence
                             5:12-17; 5:37-43; 6:20-26; Fig. 2; Fig. 3; 8:50-60; 10:45-47; 794 Patent, Figs. 1–3, 3:41–54, 5:27–31, 5:44–46,
                             10:51-53.                                                     5:55–6:13, 6:14–26, 6:53–61, 7:27–35, 8:15–27,
                                                                                           9:20–41.
a first wireless transceiver No construction necessary.                                    “a first fixed-site wireless transceiver operable to
operable to communicate                                                                    communicate with a fixed-site base station.”
with a base station          Intrinsic Evidence
                             ’794 Patent at 5:2-11; 7:44-49; 10:45-47; 10:51-53.           Intrinsic Evidence
(claims 1, 6)                                                                              794 Patent, Figs. 1–3, 3:41–54, 5:27–31, 5:44–46,
                                                                                           5:55–6:13, 6:14–26, 6:53–61, 7:27–35, 8:15–27,
                                                                                           9:20–41.
[routes/routing…]            No construction necessary.                                    “[Selects / selecting] a network path over which
information to the first                                                                   information is to be transmitted to the first
mobile station and the       Intrinsic Evidence                                            mobile station and [selects / selecting] a network
second mobile station,       ’794 Patent at 6:37-44; Fig. 2; Fig. 3; 9:10-19; 9:42-46.     path over which information is to be transmitted
respectively                                                                               to the second mobile station, respectively”

(claims 1, 6)                                                                              Intrinsic Evidence


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                                                    794 Patent, Figs. 1–3, 3:41–54, 5:28–43, 6:13–26,
                                                    6:27-44, 6:45-52, 8:50–60, 8:61–9:3, 9:4-19, 9:29-
                                                    41, 9:42-52.

                                                    Extrinsic Evidence
                                                    Dictionary of IBM & Computing Terminology
                                                    defines “routing” as (1) “The process of
                                                    determining the path to be used for transmission
                                                    of a message over a network”; (2) “The
                                                    assignment of the path by which a message is to
                                                    reach its destination;” (3) “In SNA, the
                                                    forwarding of a message unit along a particular
                                                    path through a network, as determined by
                                                    parameters carried in the message unit, such as
                                                    the destination network address in a tansmission
                                                    [sic] header.” VZNGASCC_000004 at 005.




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